
Markman, J.
I respectfully dissent. The issue before this Court is whether the trial court’s failure to comply with MCR 6.302 in accepting defendant’s guilty plea (to a charge of receiving and concealing stolen property) requires the reversal of his conviction.1 *284Contrary to the requirement of MCR 6.302, the trial court failed to inform the defendant, at his guilty plea hearing, of his right to be presumed innocent. The trial court denied defendant’s motion to withdraw his guilty plea on this ground. The Court of Appeals subsequently reversed, asserting that the rule required the trial court “to directly advise a defendant of the presumption of innocence on the record before accepting a guilty plea.” Unpublished memorandum opinion, issued March 28, 2000 (Docket No. 217802), at 2.
I. PURPOSE AND GOAL OF GUILTY PLEA HEARING
The primary purpose of MCR 6.302’s mandate that the defendant be personally addressed with the required statements is grounded in the principle that the defendant’s plea must constitute a “knowing and intelligent” waiver of his constitutional rights. McCarthy v United States, 394 US 459, 465; 89 S Ct 1166; 22 L Ed 2d 418 (1969). To that end, the rule: (1) provides the court accepting the guilty plea the opportunity to observe the defendant’s demeanor and the manner in which he responds to the court’s statements and questions; (2) impresses upon the defendant the full gravity and import of his plea, and that, in so pleading, he waives the right to a trial and all of *285Ms other related constitutional rights;2 and (3) creates a record of factors relevant to ascertaiMng the voluntariness of defendant’s plea.3 People v Napier, 69 Mich App 46, 48; 244 NW2d 359 (1976), see also Guilty Plea Cases, 395 Mich 96, 122; 235 NW2d 132 (1975).
n. PRESUMPTION OF INNOCENCE
The principle of the presumption of innocence is an essential foundation of our adversarial system of crimmal justice. In re Winship, 397 US 358, 363; 90 S Ct 1068; 25 L Ed 2d 368 (1970), see also Coffin v United States, 156 US 432, 453; 15 S Ct 394; 39 L Ed 481 (1895). The presumption of innocence is “the undoubted law, axiomatic and elementary, and its enforcement lies at the foundation of the admimstration of our criminal law.” Coffin, supra at 453.4 “The accused during a criminal prosecution has at stake *286interest of immense importance, both because of the possibility that he may lose his liberty upon conviction and because of the certainty that he would be stigmatized by the conviction.” Id.
A guilty plea constitutes a waiver of the fundamental right to a jury trial. Parke v Raley, 506 US 20, 29; 113 S Ct 517; 121 L Ed 2d 391 (1992). It is because of the waiver of these rights and because a guilty plea is itself effectively a self-imposed conviction, that the process “demands the utmost solicitude of which courts are capable in canvassing the matter with the accused to make sure he has a full understanding of what the plea connotes and of its consequence.” Boykin v Alabama, 395 US 238, 243-244; 89 S Ct 1709; 23 L Ed 2d 274 (1969). It is with this principle in mind that a court must review a guilty plea and determine whether the accused has been informed of all the rights that he is waiving.
m. MCR 6.302
MCR 6.302 states that the defendant is entitled during the guilty plea hearing to a direct and explicit statement from the court concerning the rights set *287forth in the rule. It is expressly required that the court “speak[] directly to” the defendant, and that the court “must advise” the defendant and “determine that the defendant understands” that he has the right to be presumed innocent until proved guilty. MCR 6.302.
Clearly, the omission in this case was more than merely an imprecise recital of the rights to which defendant was entitled and which he was surrendering by virtue of his plea. See People v Russell, 73 Mich App 628, 631; 252 NW2d 533 (1977), asserting that “[t]he determinative question ... is whether the trial judge omitted advice on that subject or merely gave an imprecise recital.” The flaw in procedure in the instant case was not that the wrong formulation or the wrong articulation of defendant’s rights was provided, but rather that no formulation and no articulation were provided. As the majority recognizes, I agree that substantial compliance with MCR 6.302, with regard to the right to be presumed innocent, is all that is required. However, the question in the instant case is whether there was any compliance with the rule. I can only answer this in the negative because the statement required by the rule was not made, precisely or imprecisely, perfectly or imperfectly, at the guilty plea hearing.
IV. analysis of the majority opinion
The majority cites the Guilty Plea Cases, 395 Mich 96, 113; 235 NW2d 132 (1975), and states that “[w]hether a particular departure from [the rule] justifies or requires reversal or remand for additional proceedings will depend on the nature of the noncompliance.” Ante at 273. The majority then asserts that the *288inquiry on appeal “is whether it appears on the record that the defendant was informed of such constitutional rights and incidents of a trial as is reasonable to warrant the conclusion that he understood what a trial is and that by pleading guilty he was knowingly and voluntarily giving up his right to a trial and such rights and incidents.” Id., citing Guilty Plea Cases, supra at 122. The actual rule itself appears to be little more than a bit actor in this process.
While it is true that the Guilty Plea Cases established that the determination whether MCR 6.302 was “substantially complied with” was to be part of a case-by-case inquiry, this Court also made clear at the time that the rule requires that a defendant be advised of his right to be presumed innocent, because such right is “at the core of our criminal process and fundamental to defendant’s understanding of a trial.” Id. at 125. In Guilty Plea Cases, this Court reversed a conviction entered on a plea of guilty where the trial court had failed to inform the defendant, during the guilty plea hearing, of his right to be presumed innocent. Id.
Further, this Court has had subsequent occasion to address whether a defendant must be advised of this right, and has concluded that a trial court’s failure to advise the defendant, at the guilty plea hearing, that he has the right to be presumed innocent is error requiring reversal of the conviction. In People v Allen, 396 Mich 829 (1976), the defendant was not advised of the presumption of innocence, and, as a result, had his conviction set aside. In People v Lawrence, 413 Mich 866 (1982), there was an omission of any statement to the defendant that he had the right to be presumed innocent and, as a result, his conviction was reversed.
*289The Court of Appeals has also followed this established precedent. In People v Ingram, 166 Mich App 433, 437-438; 424 NW2d 19 (1988), the Court of Appeals held that a defendant must be advised at the guilty plea hearing, however imprecisely, that he is relinquishing his right to be presumed innocent. In People v Heintzelman, 142 Mich App 94, 95; 368 NW2d 903 (1985), the defendant’s conviction was reversed where the trial court had failed to advise him of his right to be presumed innocent. In People v Mitchell, 125 Mich App 475, 477; 336 NW2d 31 (1983), the Court of Appeals reversed the defendant’s conviction where the trial court did not advise him of his right to be presumed innocent until proved guilty. In People v Bender, 124 Mich App 571, 578; 335 NW2d 85 (1983), the Court of Appeals held that “[t]he right to be presumed innocent is of preeminent importance and, therefore, a defendant must be informed of this right on the record or his plea is constitutionally defective.” The Court proceeded to reverse the defendant’s conviction where the record did not disclose that he was “personally informed, precisely or imprecisely, of his right to be presumed innocent.” Id. In People v Wilson, 78 Mich App 307, 308; 259 NW2d 356 (1977), the Court of Appeals reversed the defendant’s conviction where the record did not establish that the trial court had advised him of his right to be presumed innocent until proved guilty beyond a reasonable doubt.
This line of precedent firmly establishes that, where a trial court has completely failed to advise the defendant of his right to be presumed innocent at the guilty plea hearing, the defendant is entitled to a reversal of his conviction, and either to replead or proceed to trial. In this case, defendant was not in*290formed, in any manner, of his right to be “presumed innocent until proved guilty.” MCR 6.302(B)(3)(c).
A waiver of the constitutional right set forth by the rule is supposed to be “an intentional relinquishment or abandonment of a known right or privilege.” Johnson v Zerbst, 304 US 458, 464; 58 S Ct 1019; 82 L Ed 1461 (1938) (emphasis added); see also People v Siebert, 450 Mich 500, 510; 537 NW2d 891 (1995). In this case, it is impossible to conclude that defendant made an intentional relinquishment of his right at trial to be presumed innocent. People v Scott, 381 Mich 143, 147-148; 160 NW2d 878 (1968). This is simply because defendant was never informed at all of this right. Obviously, it could not be determined that he understood that this right was being “forever relinquished” with respect to the charges to which he pleaded guilty. Given the circuit court’s omission in this case, we cannot conceivably determine whether the purpose of MCR 6.302 was fulfilled, i.e., whether the defendant’s pleas constituted a “knowing and voluntary” waiver of his constitutional rights.5
I am unpersuaded by the argument of the majority that, while this Court has previously stated that a failure to advise the defendant of his right to be presumed innocent at the guilty plea hearing is error requiring reversal, it is not error if the omitted statements concerning the presumption of innocence were made at some point during the criminal justice pro*291cess, although not, as expressly required, at the guilty plea hearing itself.
The majority observes, in this regard, that “earlier in the day defendant was present while the same judge instructed the jury that convened for defendant’s trial—on the charge to which he subsequently pleaded guilty—that the defendant was presumed innocent until proven guilty . . . .” Ante at 270. The majority accords greater weight to this happenstance than to the fact that the judge failed to comply with its obligation that it “must . . . personally” advise defendant of his constitutional rights, and that it must do so at the guilty plea hearing. The majority opinion continues in this regard:
In light of the Guilty Plea Cases, 395 Mich 96; 235 NW2d 132 (1975), the question is whether there was substantial, not strict, compliance with the requirements of MCR 6.302.[6]
Despite the trial court’s omission of the presumption of innocence during the plea hearing, we hold that defendant “was informed of such constitutional rights and incidents of a trial as reasonable to warrant the conclusion that he understood what a trial is and that by pleading guilty he was knowingly and voluntarily giving up his right to a trial and such rights and incidents.” [Ante at 270-271, quoting Guilty Plea Cases, supra at 122.]
*292One could hardly imagine a trial proceeding where the jury has not been informed that the defendant has a right to enjoy the presumption of innocence. Is it the majority’s new rule that where, as might commonly occur, a guilty plea is taken after a defendant has decided to abort a trial, the court need not comply with those aspects of MCR 6.302 that were touched upon in any manner during such trial? Does such a partial trial effectively nullify the requirement that a pleading defendant be apprised of his presumption of innocence? Is the explicit requirement of the rule that the trial court “speak directly” to the defendant satisfied where the court instead “speak[s] directly” to the jury? Is the explicit requirement of the rule that the trial court advise the defendant of his rights during the guilty plea hearing satisfied when the defendant overhears these words in the court’s statement to the jury? Is the purpose of the rule, that the defendant be advised of his rights when he is most focused upon the implications of his nearly irrevocable decision to convict himself by a guilty plea, fulfilled where he overhears these rights in a context far removed from this moment of irrevocability?7
To all of these questions, I answer that it is the defendant, not the members of the jury, who must ultimately consider the gravity of an admission of guilt. And it is unwarranted to equate, as the majority does here, the defendant’s possible awareness of these rights when they were brought to the attention of the jury with the defendant himself being personally advised of these rights at the guilty plea hearing, *293after he has chosen to acknowledge the crime for which he has been charged.8 It is not during the jury trial that the defendant has made the momentous decision to admit guilt, and, thus, it is not at that juncture that he must be impressed with the import of his decision to plead guilty and be apprised of the consequences of his decision. Indeed, as this Court stated in the Guilty Plea Cases:
That a defendant may have been tried by a jury in another case or learned of his rights in an earlier plea-taking proceeding would no more negate his right to be informed of the right to and incidents of a trial at the time a plea of guilty is offered than would proof that he had seen Perry Mason on television or read Erie Stanley Gardner.
Many defendants have been made aware at one time or another of the right to and incidents of a trial and the consequences of a plea of guilty. Nevertheless, whatever the personal history of the accused and the quality of his representation, the appearance of justice and the integrity of the process by which pleas of guilty are offered and accepted require, in the solemn moment of passage from presumed innocence to conviction and potential imprisonment, that the judge apprise every defendant of the rights he is waiving and the consequences of his plea and make the other determinations required by the rule. However, a recital of rights to one defendant by one judge on one day, may suffice as a recital of rights to that same defendant by *294the same judge on that same day in another case. [Id. at 121-122 (emphasis added).].[9]
That is, a recital of rights at a previous guilty plea hearing in the same case of the rights that a defendant is waiving may suffice to satisfy the requirements of MCR 6.302. However, this Court has never before subscribed to the proposition that the mere fact that a jury, in a partial trial, has been instructed on a defendant’s right to be presumed innocent is sufficient to obviate the specific requirements of the court rules.9
10
The fundamental error that pervades the majority opinion is in its reading of Guilty Plea Cases and its holding that “there is substantial compliance with the ‘personally address’ requirement . . . even though the judge fails to recite a specific right at the guilty plea proceeding . . . .” Ante at 280. The focus of the majority opinion in this regard is on the language found at 114-115 of Guilty Plea Cases. There, the *295Court addressed the requirement of the rule that the judge “personally address[] the defendant” at the guilty plea hearing. The Court concluded in one of the twenty-four consolidated cases, Courtney, that the judge did not “personally advise the defendant of the maximum sentence but in moving to add a second count the prosecutor stated the maximum penalty of five years.” Id. at 114. The Court next addressed Bauer, a case in which “the judge did not state the charge but the prosecutor read the information on the plea record.” Id. (emphasis added).11 This Court stated:
These departures do not justify reversal. While it would be better for the judge to cover all the points himself, as long as he assumes the principal burden of imparting the required information, as did the judges in Courtney and Bauer, the purpose of requiring him personally to address the defendant and in so doing observe his demeanor and responses is achieved.
A guilty plea conviction will not be reversed if the judge engages in the required colloquy but fails to mention an item which the record shows was established through, for example, an opening statement of or interjection by the prosecutor or defense counsel in the hearing of the judge and defendant. It is proper for the prosecutor or the clerk to read the information in the judge’s presence. [Id. at 114-115 (emphasis added).]
Both Courtney and Bauer involved the assessment of statements occurring during the guilty plea hearing itself in order to determine whether there had been substantial compliance with the rule. Contrary to the majority opinion, Guilty Plea Cases does not *296rely upon statements or events occurring outside the four comers of the guilty plea hearing.12 Therefore, I reject its assertion that “twenty-five years” of precedent establish that the required statements do not have to be made at the guilty plea hearing. Rather, the precedent cited in this opinion establishes that for twenty-five years, since the Guilty Plea Cases, Michigan courts have adhered to the principle that a defendant must be informed at the guilty plea hearing that he has a right to be presumed innocent. The majority’s extrapolation from focusing upon substantial compliance at the guilty plea hearing to focusing upon substantial compliance over some indeterminate period surrounding the hearing runs counter to this well-established precedent. It also runs counter to the principle that, in order for a guilty plea to be knowing and voluntary, a defendant must be informed of the rights he is surrendering at that time, at that hearing at which he finally decides to admit guilt.13
The majority seeks to distinguish the right to be presumed innocent until proved guilty from the rights identified in Jaworski of which a defendant must be informed.14 However, the mere fact that the Jaworski *297rights have not encompassed the presumption of innocence does not indicate that this right is of any less consequence or should be treated in any different fashion, nor does the majority suggest any rationale for such treatment. In Russell, supra at 629-630, the Court of Appeals noted that, in the Guilty Plea Cases, this Court “elevated the presumption of innocence to the same status as the three Jaworski rights.”15 See also Johnson v Ohio, 419 US 924, 926; 95 S Ct 200; 42 L Ed 2d 158 (1974) (Douglas, J., dissenting), in which one justice, in dissenting to a denial of certiorari, observed that “[t]he Boykin enumeration [of rights to which a pleading defendant is entitled to be advised] was illustrative, not exhaustive.”16
*298V. RESPONSE TO THE CONCURRENCE
I also respectfully disagree with the concurrence that advising the defendant at his guilty plea hearing that he was relinquishing the right to have the jury decide whether his guilt could be proven beyond a reasonable doubt sufficiently imparted the idea that he was also relinquishing his right to be presumed innocent. MCR 6.302(B)(3)(c) requires a statement to the defendant that the judge, jury, and prosecutor are to presume his innocence until his guilt is proven. MCR 6.302(B)(3)(d) requires a separate statement informing the defendant that it is the prosecutor’s burden to prove his guilt beyond a reasonable doubt. Thus, subrules (c) and (d) are distinct requirements of the guilty plea hearing.17
*299The distinction between the presumption of innocence and the “reasonable doubt” standards has been extensively discussed by the United States Supreme Court. Coffin v United States, supra at 460-461 (holding that a trial judge’s failure to instruct the jury on the presumption of innocence required reversal, notwithstanding the adequacy of instructions provided on the closely related reasonable doubt standard). In Coffin, the Court traced the “presumption of innocence” back to ancient law, and stated of the argument that “proof beyond a reasonable doubt” and “presumption of innocence” are equivalent:
To say that the one is the equivalent of the other is therefore to say that legal evidence can be excluded from the jury, and that such exclusion may be cured by instructing them correctly in regard to the method by which they are required to reach their conclusion upon the proof actually before them; in other words, that the exclusion of an important element of proof can be justified by correctly instructing as to the proof admitted. The evolution of the principle of the presumption of innocence, and its resultant, the doctrine of reasonable doubt, make more apparent the correctness of these views, and indicate the necessity of enforcing the one in order that the other may continue to exist, lid. at 460.][18]
*300Subsequently, in Taylor v Kentucky, 436 US 478, 484; 98 S Ct 1930; 56 L Ed 2d 468 (1978), the Supreme Court observed:
[The requirement that a jury be informed both of the presumption of innocence and of the requirement of proof beyond a reasonable doubt] derives from a perceived salutary effect upon lay jurors. While the legal scholar may understand that the presumption of innocence and the prosecution’s burden of proof are logically similar, the ordinary citizen well may draw significant additional guidance from an instruction on the presumption of innocence.
In my judgment, this reasoning applies with equal force to the guilty plea hearing, where a criminal defendant is faced with the decision to admit or deny guilt. Omitting the instruction on the presumption of innocence deprives such a defendant of an opportu*301nity to fully assess his own circumstances and intelligently reflect upon his options.
While a scholar of the law may well recognize the close philosophical and constitutional connection between (indeed the inextricability of) the right to be presumed innocent and the right to be proved guilty beyond a reasonable doubt, MCR 6.302 understandably sets these apart as discrete rights to be explained to the pleading defendant. The rules do so because, considered together, these formulations explain more thoroughly and more clearly to the non-scholar, to the defendant, the full measure of the rights that he is rehnquishing by his guilty plea.19
CONCLUSION
The Guilty Plea Cases established that a trial court’s failure to comply with MCR 6.302 and advise the defendant of his right to be presumed innocent constituted error requiring reversal. Until today, this Court has not wavered from adherence to this principle. In my judgment, the trial court is obligated under the Michigan rule to inform the defendant of his presumption of innocence at the guilty plea hearing, and the extent to which there has been “substantial compliance” with this obligation must be assessed in terms of what occurred at such hearing. Because there was a complete failure on the part of the trial court in this case to comply with MCR 6.302 by advis*302ing defendant, at his guilty plea hearing, of his right to be presumed innocent, I would affirm the Court of Appeals decision reversing defendant’s conviction.
Cavanagh and Kelly, JJ., concurred with Markman, J.

 MCR 6.302, in pertinent part, provides:
(A) Plea Requirements. The court may not accept a plea of guilty or nolo contendere unless it is convinced that the plea is understanding, voluntary, and accurate. Before accepting a plea of guilty or nolo contendere, the court must place the defendant under oath and personally carry out subrules (B)—(E).
(B) An Understanding Plea. Speaking directly to the defendant, the court must advise the defendant and determine that the defendant understands:
*284(3) if the plea is accepted, the defendant will not have a trial of any kind, and so gives up the rights the defendant would have at a trial, including the right:
* ** *
(c) to be presumed innocent until proved guilty .... [Emphasis added.]


 McCarthy, supra at 465. See also McMann v Richardson, 397 US 759, 774; 90 S Ct 1441; 25 L Ed 2d 763 (1970); North Carolina v Alford, 400 US 25, 31; 91 S Ct 160; 27 L Ed 2d 162 (1970) (stating that a voluntary plea is one made with knowledge of fundamental constitutional rights and an understanding of the nature of the crimes charged); People v Siebert, 450 Mich 500, 511-515; 537 NW2d 891 (1995); People v Thew, 201 Mich App 78, 95; 506 NW2d 547 (1993), citing Brady v United States, 397 US 742, 747-748; 90 S Ct 1463; 25 L Ed 2d 747 (1970) (stating that “a guilty plea is the most serious step a defendant can take in a crimmal prosecution [and] [f]or that reason, the plea ‘not only must be voluntary but must be [a] knowing, intelligent ac[t] done with sufficient awareness of the relevant circumstances and likely consequences.’ ”).


 An equally important, albeit more pragmatic, reason for requiring an on-the-record recitation of defendant’s rights is to avoid, or at least discourage, numerous and sometimes frivolous post conviction attacks on the constitutional validity of the plea. See Orfield, Pleas in federal criminal procedure, 35 Notre Dame Lawyer 1, 31-32 (1959); Hoffman, What next in federal criminal rules? 21 Wash &amp; Lee L R 1, 8 (1964).


 “One of the rightful boasts of Western civilization is that the (prosecution) has the burden of establishing guilt solely on the basis of evidence produced in court and under circumstances assuring an accused all the safeguards of a fair procedure.” Irvin v Dowd, 366 US 717, 729; 81 S Ct 1639; 6 L Ed 2d 751 (1961) (Frankfurter, J., concurring). One of these *286safeguards is the presumption of innocence. See also Abraham, The Judicial Process (7th ed), pp 104-105, stating:
It is a cornerstone of Anglo-Saxon justice that an accused is presumed innocent unless and until proved guilty beyond a reasonable doubt. Pew, if any, concepts are more deeply rooted in our traditions. . . . The layperson may quite naturally be quick to adjudge an accused guilty in his or her own mind and be sometimes joined by the press, particularly in America, but the Anglo-Saxon legal profession on both sides of the Atlantic Ocean, and throughout the English-speaking world, has done its best to adhere to the time-honored principle that an accused person is presumed to be innocent until proved otherwise beyond a reasonable doubt by due process of law.”


 Indeed, it appears that one fundamental difference between “imprecise recitals,” which we have deemed appropriate in most instances, and no recital at all, is that, with respect to the former, it can still be determined, however imperfectly, on the appellate review whether a defendant’s plea has been made knowingly and voluntarily, whereas with the latter, it is impossible to conclude similarly because there is simply no record evidence at all.


 While I agree that the proper inquiry is whether the trial court has “substantially complied” with the court rule, I disagree that a complete failure to make the required statements can nonetheless be characterized as “substantial” compliance. It is not as if, for example, the court had advised the defendant that he had a right to be presumed “not guilty” as opposed to being presumed “innocent.” Rather, there has been no compliance at all. As noted, our jurisprudence clearly articulates that there is a substantial difference between “imprecise recitals” and situations in which the required statement advising the defendant of his rights is not made at all. See Russell, supra at 631; Ingram, supra at 437-438; Bender, supra at 578.


 “[A] guilty plea is more than an admission of conduct; it is a conviction.” Boykin, supra at 242.


 I emphasize the “possible” awareness of the defendant because, of course, there is no certainty that the defendant was even paying attention to, much less apprehending, any particular statement by the trial court to the jury. Defendant, at the time, may instead have been daydreaming or distracted or confused or consulting with his lawyer. The virtue of MCR 6.302 is that, because the court must personally address the defendant and take into consideration the nature of his response in determining whether to accept the guilty plea, appellate courts can be reasonably confident that a defendant has intelligently relinquished the full panoply of rights attendant to a jury trial. The appellate courts can have no similar assurance in the instant circumstance.


 The implication of the majority’s reasoning is that the “habitual offender,” or the defendant who has previously been involved in the criminal justice system, has something less than a full right to be informed, at the guilty plea hearing, of his constitutional rights in accordance with MCR 6.302, by virtue of his presumed familiarity with such rights. Would the majority also conclude that no compliance with the rule is required for the defendant-lawyer or the defendant-judge because of his presumed knowledge of constitutional law? Simple adherence to the express requirements of the rule would avoid this Court having to determine which class of defendants possessed alternative means by which to become informed of the rights that they were relinquishing by a plea of guilty.


 See also People v Jackson, 71 Mich App 468, 471-472; 248 NW2d 551 (1976) (Burns, J., dissenting), disagreeing with the majority’s holding that advisement of a defendant’s rights at a guilty plea hearing earlier in the day constituted sufficient waiver of his rights at a subsequent hearing, and citing the Guilty Plea Cases, noting that while the presumption of innocence is not a Jaworski right, this Court “has deemed it necessary to continue to require reversal in cases where the guilty-pleading defendant is not advised of that incident of trial.”


 Courtney and Bauer were the only two cases among the twenty-four cases consolidated in Guilty Plea Cases that specifically concerned the “personally address” requirement of MCR 6.302.


 One of the reasons for requiring that a guilty plea hearing be conducted in a discrete proceeding is to preserve the overall integrity of the defendant’s decision to plead guilty.


 Further, contrary to the majority’s statement at 14 that “[t]he dissent has not identified any basis in the rule to support” its position that trial judges must personally advise the defendant at the guilty plea hearing concerning the right to be presumed innocent, I believe that my position is adequately supported by the language of MCR 6.302(B). This rule requires the court to “[s]peak[] directly to the defendant, . . . advise the defendant and determine that the defendant understands . . . Only by a great stretch can this rule be read to authorize a situation where, as here, the defendant was never directly addressed in regard to the presumption of innocence.


 See People v Jaworski, 387 Mich 21, 28-29; 194 NW2d 868 (1972), holding that a defendant must be advised of the three constitutional rights *297enumerated in Boykin: (1) the privilege against compulsory self-incrimination, (2) the right to trial by jury, and (3) the right to confront one’s accusers.


 The United States Supreme Court has stated that “[t]he presumption of innocence, although not articulated in the Constitution, is a basic component of a fair trial under our system of criminal justice.” Estelle v Williams, 425 US 501, 503; 96 S Ct 1691; 48 L Ed 2d 126 (1976). See also Abraham, note 4 supra at 105, stating:
[T]he presumption of the innocence of the accused is transformed into courtroom procedure in the Anglo-Saxon countries. Essential to it are the ancient, basic safeguards inherent in that philosophy of the law, safeguards which, to a greater or lesser degree, are fundamental to the notions of liberty and justice that pervade the political system of the liberal democratic West. Among these are the privilege against compulsory self-incrimination; the right to cross-examine witnesses; the writ of habeas corpus . . . perhaps the most basic right of all, dating at least to the Magna Carta (1215)—and many others in the same general category.
Notably, the rights referred to in this passage along with the presumption of innocence, are the Jaworski rights.


 It is not my view that the trial court is required during the guilty plea hearing to “strictly” comply with the obligation that a defendant be advised of his right to be presumed innocent, or with regard to any other particular obligation, beyond what is required by Jaworski. I do believe, however, that the extent of a court’s compliance with the requirements of *298MCR 6.302 must be assessed in terms of what has occurred at the guilty plea hearing.


 In note 10, the majority, perhaps inadvertently, adopts the premises of the concurrence that the “beyond a reasonable doubt” instruction embodied in subrule (3)(d) is sufficiently equivalent to the “presumption of innocence” instruction contained in subrule (3)(c) to warrant a finding that the former instruction suffices in lieu of the latter. This is because Russell approved the instruction given to the defendant, during the guilty plea hearing, that the “[pjrosecutor must prove you guilty beyond a reasonable doubt” even though, as the majority observes, the judge “never spoke the precise words ‘presumed innocent.’ ” Russell, supra at 631. Yet, as explained here, the two instructions clearly are distinct, both conceptually and in the specific context of the language of MCR 6.302. As Guilty Plea Cases made clear, and as evidenced by the change in the court rules, see GCR 1963, 785.7(l)(d)(ii) (which combined the two instructions), and GCR 1963, 785.7(l)(g)(iii), (iv) (which separated the two instructions), the presumption of innocence is a distinct right that should always be stated in advising the defendant at the guilty plea hearing.
Concerning the other cases referenced by the majority in that note, as the dissent has already observed, (a) in Jackson, the defendant was informed of his right to be presumed innocent at a guilty plea hearing; (b) in Ingram, defendant was instructed on the presumption of innocence at his guilty plea hearing; (c) in Bender, supra at 579, defendant’s conviction *299was reversed because the defendant “was not personally informed of his right to be presumed innocent”; and (d) in Heintzelman, Mitchell, and Wilson, the Court of Appeals held that a defendant must be given the required instruction.


 See also Chambers, Reasonable certainty and reasonable doubt, 81 Marq L R 655, 671, 674 (1998), stating:
The reasonable doubt standard and the presumption of innocence work in tandem to help assure that defendants are convicted fairly. Reasonable doubt requires that jurors be thoroughly convinced of a defendant’s guilt before conviction. The presumption of *300innocence effectively requires that jurors begin and end their inquiry with a skeptical mindset.
* ** *
That reasonable doubt and the presumption of innocence are related is undeniable. Understanding the relationship between them requires recognizing that the pairing of the two concepts forces a juror to move from a subjective state of disbelief regarding the prosecution’s claims of defendant’s guilt to a subjective state of justified certainly regarding defendant’s guilt. That the juror must be so transformed ensures that the evidence used to convict a defendant will be powerful. Reasonable doubt requires only that a juror be subjectively certain that defendant committed the crime before voting for guilt. A juror can reach a subjective, but possibly unjustified, state of certainty in the absence of a presumption of innocence. The presumption of innocence requires that jurors think more deeply than they otherwise would about whether all reasonable doubts have been eliminated before convicting a defendant.
See also Diamond, Note, Reasonable doubt: To define, or not to define, 90 Colum L R 1716, 1730-1731 (1990).


 By the concurrence’s analysis, the trial court could just as well advise the defendant that he is entitled to “due process” of law, and have such an instruction suffice to satisfy MCR 6.302 in lieu of instructions concerning the individual components of due process set forth in the rule.

